                    UNITED STATES BANKRUPTCY COURT
                  FOR THE NORTHERN DISTRICT OF ALABAMA
                            NORTHERN DIVISION

In the Matter of:                              }
ALISON P. GAMBLE                               }    CASE NO. 18-82298-CRJ-7
SSN: XXX-XX-3024                               }
                                               }    CHAPTER 7
                                Debtor.        }

ALISON P. GAMBLE                               }    AP. NO. 18-80098-CRJ-7
                                Plaintiff,     }
                      v.                       }
                                               }
STATE OF ALABAMA                               }
DEPARTMENT OF REVENUE and                      }
                                               }
UNITED STATES OF AMERICA                       }
DEPARTMENT OF TREASURY-                        }
INTERNAL REVENUE SERVICE                       }
                   Defendants.                 }


           ORDER APPROVING PLAINTIFF AND STATE OF ALABAMA
         DEPARTMENT OF REVENUE JOINT STIPULATION OF DISMISSAL

       Before the Court is the Joint Stipulation of Dismissal of Adversary Proceeding filed by the

Plaintiff and the State of Alabama Department of Revenue (“Joint Stipulation of Dismissal”),

agreeing to dismiss the State of Alabama Department of Revenue from this Adversary Proceeding.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that the Joint

Stipulation of Dismissal, ECF No. 14, is APPROVED, with all costs, expenses, and fees taxed as

paid by the parties. The State of Alabama Department of Revenue is hereby dismissed as a

Defendant from this Adversary Proceeding.

Dated this the 4th day of January 2019.

                                                    /s/ Clifton R. Jessup, Jr.
                                                    Clifton R. Jessup, Jr.
                                                    United States Bankruptcy Judge




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